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       ROSENBLATT, on behalf of herself and all
   7 others similarly situated
   8
   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12 ARLENE ROSENBLATT, an                          CASE NO.
     individual, on behalf of herself and all
  13 others similarly situated,                     PUTATIVE CLASS ACTION
  14               Plaintiff,
                                                    COMPLAINT
  15
             vs.
  16                                                JURY TRIAL DEMANDED
  17 THE CITY OF SANTA MONICA, a
       municipal corporation; and THE CITY
  18 COUNCIL OF THE CITY OF SANTA
       MONICA, its governing body,
  19
                   Defendants.
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                                           COMPLAINT
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   1        Plaintiff ARLENE ROSENBLATT, an individual, on behalf of herself and all
   2 others similarly situated, hereby files this Complaint against Defendants CITY OF
   3 SANTA MONICA and THE CITY COUNCIL OF THE CITY OF SANTA
   4 MONICA (jointly, “Defendants”), and alleges as follows:
   5
   6                            JURISDICTION AND VENUE
   7        1.     This case presents a federal question arising under the Commerce
   8 Clause of the Constitution of the United States, Art. I, § 8, cl. 3, the Fifth
   9 Amendment of the Constitution of the United States, and 42 U.S.C. § 1983. This
  10 Court therefore has subject matter jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. §
  11 1343(a)(3), and 42 U.S.C. § 1988. The Court also has supplemental jurisdiction
  12 under 28 U.S.C. § 1367.
  13        2.     Venue is proper in this District under 28 U.S.C. § 1391, as Defendants
  14 reside in this District and a substantial part of the events giving rise to the claims
  15 asserted herein occurred in this District.
  16
  17                                     THE PARTIES
  18        3.     Plaintiff ARLENE ROSENBLATT is a resident of the City of Santa
  19 Monica in the County of Los Angeles, State of California.
  20        4.     Plaintiff is informed and believes and thereupon alleges that Defendant
  21 THE CITY OF SANTA MONICA (“the City” or “Santa Monica”) is a municipal
  22 corporation situated in the County of Los Angeles and organized under the laws and
  23 Constitution of the State of California and freeholders’ charter.
  24        5.     Plaintiff is informed and believes and thereupon alleges that Defendant
  25 THE CITY COUNCIL OF THE CITY OF SANTA MONICA (“City Council”) is
  26 the City’s duly-elected governing body, created and organized under Article VI of
  27 the Charter of the City of Santa Monica.
  28 ///

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   1        6.     Plaintiff is informed and believes and thereupon alleges that at all times
   2 mentioned, each of the Defendants was (and still is) the employee, agent, partner,
   3 joint venturer, alter ego, and/or co-conspirator of the other such defendants. At all
   4 times mentioned, a unity of interest in ownership and other interests between each of
   5 such Defendants has existed such that any separateness ceased to exist between
   6 them. The exercise of complete dominance and control over the other entities and
   7 their properties, rights and interests, rendered such entities as mere shells and
   8 instrumentalities of each other.
   9
  10                                    INTRODUCTION
  11        7.     This action arises from the City’s recent enactment of an ordinance that
  12 purports to prohibit property owners of residential property in Santa Monica from
  13 renting out their properties on a short-term basis.
  14        8.     Once a purely locally-driven business, travel lodging, thanks to the
  15 Internet, has become an interstate activity with interstate actors, instrumentalities,
  16 and competition. In recent years, the Internet has furnished property owners with an
  17 online marketplace to list privately-owned properties for rent on a short-term basis
  18 and engage in interstate transactions with travelers from across the country and the
  19 world. The increased availability of short-term rentals has afforded travelers with a
  20 greater supply of lodging options, providing them with affordable alternatives for
  21 transient lodging and, at the same time, driving down prices of otherwise expensive
  22 hotels. The lower costs of lodging and increased affordability of traveling, in turn,
  23 have resulted in increased travel across the country, increased tourism, and
  24 increased travel spending.
  25        9.     While the greater supply of lodging options and the lower lodging costs
  26 have boosted travel and have facilitated transactions between persons across the
  27 country and the world, these interstate commerce benefits have harmed local
  28 municipalities. The increased interstate competition diverts potential business away

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   1 from the hotel industry and has substantially negatively impacted hotel revenue.
   2 This, coupled with the lower lodging costs resulting from the online marketplace for
   3 short-term rentals, translates into lower revenues municipalities receive from
   4 “Transient Occupancy Taxes” (“TOTs”), a local transient tax that hotels (and
   5 sometimes listing owners of short-term residential units) remit to municipalities
   6 based upon revenues received from transient lodging.
   7         10.   The City of Santa Monica, one of the most popular and desirable tourist
   8 destinations in the country, receives substantial revenues from the 14% TOT that it
   9 collects from the ultra-luxurious, highly occupied, and pricey hotels in the City. But
  10 as the online marketplace for short-term rentals became more prominently used
  11 among travelers, Santa Monica tourists increasingly opted for less expensive
  12 residential rentals, making Santa Monica more accessible and affordable for
  13 interstate and intrastate travel.
  14         11.   Seeking to reverse the trend, increase its own revenues, and promote
  15 purely local economic interest, Defendants enacted Ordinance 2484CCS (“the
  16 Ordinance”) that essentially bans the online marketplace for short-term vacation
  17 rentals and forces travelers desiring to lodge in the City to choose a pricey Santa
  18 Monica-based hotel as their only lodging option.        The Ordinance, among other
  19 things:
  20               a.     Prohibits property owners from engaging in short-term “vacation
  21 rentals” of their properties and from listing or advertising any “vacation rentals” on
  22 any website. A “vacation rental” is defined as a rental for a period of 30 days or less
  23 while the property owner does not simultaneously occupy the residence. Santa
  24 Monica hotels are exempted from this prohibition.
  25               b.     Permits “home sharing,” whereby the listing owner rents a
  26 portion of his or her residential unit for a period of 30 days or less while
  27 simultaneously occupying the residence, provided that the listing owner obtains and
  28 possesses a business license authorizing such activity. By definition, home sharing

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   1 is available only to Santa Monica residents and is unavailable to owners of Santa
   2 Monica property that reside out of state.
   3               c.    Criminalizes any conduct that violates the Ordinance, including
   4 conduct that takes place entirely outside of the borders of the City, such as
   5 advertising vacation rentals on the Internet.
   6        12.    The Ordinance violates a number of provisions of the Constitution of
   7 the United States, including the Dormant Commerce Clause, Art. I, § 8, cl. 3, and
   8 the Takings Clause of the Fifth Amendment. The Ordinance violates the Dormant
   9 Commerce Clause because it substantially burdens interstate commerce and
  10 discriminates in favor of Santa Monica businesses and interests at the expense of
  11 non-Santa Monica residents and interests.       The Ordinance violates the Takings
  12 Clause of the Fifth Amendment because it constitutes an unreasonable restriction on
  13 the use of privately-owned property. Accordingly, Plaintiff brings this on behalf of
  14 herself and all other Santa Monica residential property owners for the purpose of
  15 obtaining an order declaring the Ordinance unconstitutional, enjoining Defendants
  16 from enforcing the Ordinance’s unconstitutional provisions, and/or awarding any
  17 applicable damages.
  18
  19              FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
  20     Short-Term Rentals Propel the Travel Industry and Interstate Commerce
  21        13.    According to the United States Travel Association, “travel is one of the
  22 United States’ largest industries and employers.”
  23        14.    The advent of the Internet, an instrumentality of interstate commerce,
  24 has revolutionized and boosted the travel industry. Over the last few years, online
  25 marketplaces have allowed residential property owners, who may be out of town
  26 themselves for work or on vacation, to earn additional income by listing their
  27 privately-owned and otherwise vacant properties for short-term rental. The online
  28 marketplace for short-term rentals brings together these listing owners with millions

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   1 of travelers seeking transient lodging from all over the United States. Travelers can
   2 search, compare, and/or book fully furnished, privately-owned residential properties,
   3 including houses, guest houses, and condominiums, that listing owners rent to the
   4 public on a nightly, weekly, or monthly basis. Two of the most popular online
   5 marketplaces for short-term rentals are Airbnb and HomeAway.
   6         15.   Airbnb: Founded in or around 2008, Airbnb offers an online
   7 marketplace that facilitates transactions for rentals of residential properties on a
   8 short-term basis.     Airbnb has become the leading company within the online
   9 marketplace for short-term rentals. According to its website, Airbnb has served over
  10 60 million guests in over 34,000 cities and 190 countries.       Airbnb offers three
  11 different types of short-term rental listings:
  12               a.     Vacation rentals: A rental of an entire house or apartment
  13 without the host being present in the unit during the stay. This is the lodging option
  14 offered by hotels. Plaintiff is informed and believes and thereupon alleges that
  15 vacation rentals account for approximately 64% of Airbnb’s listings in the county of
  16 Los Angeles.
  17               b.     Home sharing: A private room within a host’s home while the
  18 host is present in other portions of the home during the stay. Plaintiff is informed
  19 and believes and thereupon alleges that home sharing accounts for approximately
  20 32% of Airbnb’s listings in the county of Los Angeles.
  21               c.     Shared rooms: The guest and host occupy the same living space.
  22 Plaintiff is informed and believes and thereupon alleges that shared rooms account
  23 for approximately 4% of Airbnb’s listings in the county of Los Angeles.
  24         16.   HomeAway: Founded in or around 2005, HomeAway, unlike Airbnb,
  25 offers only vacation rentals, whereby a person lists an entire unit (e.g. house, guest
  26 house, or condominium) for rent for a given period of time.         The Texas-based
  27 company claims that its websites constitute the world’s largest online marketplace
  28 for vacation rentals. The websites for HomeAway include listings for over one

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   1 million individually-controlled and managed vacation rental properties in all 50
   2 states and 190 countries across the world.
   3        17.    According to a recent study, the vast majority of persons listing their
   4 properties for short-term rentals earn low, moderate, or middle incomes, and many
   5 have unsteady incomes. The overwhelming majority of listing owners offer their
   6 properties for short-term rental when they leave town for work or vacation as a
   7 means of earning additional income from their privately-owned and otherwise
   8 vacant properties.    Indeed, a vacation rental, which constitutes the entirety of
   9 HomeAway’s listings and a substantial portion of Airbnb’s listings, is just that—a
  10 rental of an otherwise completely vacant house. According to this study, even in the
  11 most expensive and desirable cities, the median host of a short-term rental earns, at
  12 most, a few thousand dollars of supplemental income a year from his otherwise
  13 vacant private property.
  14        18.    As the number of listings and bookings on the online marketplace
  15 suggest, short-term rentals have become increasingly popular across the United
  16 States. Third-party reports indicate that Airbnb bookings generated $4.5 billion in
  17 revenue in 2015, and that by 2018, Airbnb bookings will generate over $8 billion.
  18 The chart below shows the growth of the revenues generated from the short-term
  19 residential rental listings from Airbnb’s marketplace alone.
  20          Year              Estimated               Forecast          % Change
  21          2010               $133.3M
  22          2011               $450.0M                                     238%
  23          2012                $1.17B                                     159%
  24          2013                $2.15B                                      84%
  25          2014                $3.19B                                      49%
  26          2015                $4.51B                                      41%
  27          2016                                      $6.10B                35%
  28

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   1          Year              Estimated               Forecast            % Change
   2          2017                                      $7.30B                 20%
   3          2018                                      $8.04B                 10%
   4
   5        19.     The rapid growth of the marketplace for short-term rentals is a
   6 reflection of the benefits short-term residential rentals provide consumers and
   7 owners of private property as well as its impact on a national and global level. On
   8 average, vacation rentals are at least 50% less expensive per square foot than hotels,
   9 and the savings is even greater for more popular destinations. In addition to cheaper
  10 rooms, residential short-term rentals tend to offer amenities that are often not
  11 provided by hotels, such as access to a kitchen, a living room, a washer and dryer,
  12 and/or free parking.
  13        20.     The nationwide impact the online marketplace for short-term rentals
  14 has had on interstate commerce exists on a macro level as well. The increased
  15 availability of affordable short-term rentals for travelers has substantially decreased
  16 the cost of lodging, resulting in a corresponding substantial increase in travel across
  17 the country.     The increase in travel results in increased tourism and spending,
  18 thereby boosting local economies and interstate commerce. As the marketplace for
  19 short-term rentals has grown, so have travel expenditures and travel-related
  20 employment. According to the United States Travel Association, as of 2014, travel
  21 expenditures increased over 44% since 2004, the year before HomeAway was
  22 founded, and increased 29% since Airbnb began its unprecedented growth in 2009.
  23 Since 2009, over 600,000 jobs have been added to the travel industry, a growth of
  24 over 8% in travel-related employment. (U.S. Travel Assoc., Impact of Travel on
  25 State Economies, Feb. 5, 2016 (located at https://www.ustravel.org/research/impact-
  26 travel-state-economies-2015).)
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   1        21.    Airbnb alone claims to be responsible for $312 million in economic
   2 activity that would not otherwise exist but for its interstate online marketplace for
   3 short-term rentals. This economic benefit extends across the country and to Los
   4 Angeles.     According to Airbnb, 37% of its guests would not have visited Los
   5 Angeles or would not have stayed as long in Los Angeles but for the benefits
   6 conferred by Airbnb and the online marketplace for short-term rentals.
   7      The Availability of Short-Term Rentals in Santa Monica is Essential for
   8                                 Interstate Commerce
   9        22.    A May 2014 Los Angeles Chamber of Commerce report found that the
  10 Santa Monica/Venice/Marina Del Rey area is Southern California’s second most
  11 popular tourist destination, behind only Disneyland. According to Defendants, each
  12 year Santa Monica hosts nearly eight (8) million tourists, more than half of whom
  13 are from outside of the United States. Tourism generates $1.72 billion in revenue
  14 for Santa Monica’s local economy as well as 13,700 jobs in Santa Monica.
  15        23.    Plaintiff is informed and believes and thereupon alleges that there are
  16 34 hotels consisting of 3,483 rooms in Santa Monica. The 3,483 available hotel
  17 rooms are inadequate given the popularity and desirability of Santa Monica, Santa
  18 Monica’s robust economy, and the local business boom. This is evident from the
  19 hotel occupancy rates. In June 2015, when Santa Monica enacted the Ordinance, the
  20 occupancy rate of Santa Monica hotels was 86.2%, compared to the 2015
  21 nationwide occupancy rate of 65.6%, which was an all-time high in the United
  22 States.
  23        24.    The extremely high demand for Santa Monica lodging results in
  24 extremely expensive hotel rooms.       Santa Monica was recently named the most
  25 expensive tourist destination in the State of California, significantly more expensive
  26 than even its closest competition. The 34 Santa Monica hotels consist primarily of
  27 upscale luxury hotels, including the five-star Fairmont Miramar (rooms starting at
  28 $600+ per night), the Huntley Hotel ($700+/night), the Loews Santa Monica Beach

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    1 Hotel ($1,000+/night), the Shore Hotel ($500+/night), the Viceroy ($500+/night),
    2 the Oceana Beach Club Hotel ($500+/night), and the JW Marriot Le Merigot
    3 ($500/night) to name a few. In 2014, the average daily rate (ADR) for a hotel room
    4 in Santa Monica was $335.61. By comparison, the ADR for a hotel room in New
    5 York City is $276.08.
    6        25.     The ultra-expensive hotel rooms in Santa Monica force travelers
    7 seeking lodging in Santa Monica to locate cheaper lodging alternatives. The advent
    8 of the online marketplace for short-term rentals has filled that need and void for
    9 travelers. The short-term vacation rentals in Santa Monica are substantially cheaper
   10 than the equivalent “vacation rentals” offered by Santa Monica hotels. Plaintiff is
   11 informed and believes and thereupon alleges that prior to the City’s enactment of the
   12 Ordinance, a short-term vacation rental in Santa Monica had an ADR of $205
   13 compared to the $335.61 ADR for Santa Monica hotels.
   14           Pre-Ordinance Treatment of Short-Term Rentals in Santa Monica
   15        26.     Defendants have claimed that short-term rentals were illegal in the City
   16 prior to enacting the Ordinance. If such a law did exist, Defendants did not enforce
   17 it. Instead, Defendants tacitly accepted the growing short-term rental marketplace
   18 and the resulting increase in tourism. Prior to enacting the Ordinance, it was fairly
   19 common for Santa Monica property owners, who may be out of town themselves or
   20 reside out-of-state, to rent their otherwise vacant properties on a short-term basis to
   21 travelers looking for a cost-efficient lodging alternative to pricey Santa Monica
   22 hotels.    The preamble to the Ordinance, which is attached hereto as Exhibit 1,
   23 acknowledges this: “long before the advent of the [online marketplace for short-term
   24 rentals], home-sharing activities were already commonly undertaken throughout
   25 Santa Monica and throughout the United States.” (Ex. 1 at 2.)
   26        27.     The ability to generate income from privately-owned residential
   27 property sitting vacant is inherent to the ownership of residential property. The
   28 online marketplace for short-term rentals simply makes the process for owners to

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    1 list, and tourists to compare, choose, and rent, residential property easier and
    2 accessible on a nationwide scale.
    3        28.    The relative ease with which a property owner can generate rental
    4 income from Santa Monica property is one of the primary reasons Santa Monica
    5 residential real estate is among the highest in Los Angeles and the country. As of
    6 January 2016, the median rent for a one-bedroom apartment in Santa Monica was
    7 $3,490, significantly higher than its nearest competitor city, Venice ($2,820). The
    8 astoundingly-high median rent for a one-bedroom Santa Monica apartment places
    9 Santa Monica tied with San Francisco and ahead of New York City ($3,280) in
   10 terms of most expensive rental markets in the United States. Coupling the high
   11 demand for rental properties in Santa Monica with the high rental pricing makes
   12 owning residential real estate in Santa Monica particularly valuable.
   13    Defendants Enacted the Ordinance Amid the Increased Competition Santa
   14               Monica Hotels Were Facing from Short-Term Rentals
   15        29.    The availability of cost-efficient short-term residential rentals has
   16 always presented competition for Santa Monica hotels. For each traveler choosing
   17 to lodge at a short-term residential rental over a pricey Santa Monica hotel, Santa
   18 Monica hotels lose potential business. This negatively impacts hotel revenue and
   19 the TOTs collected by the City. But it was not until the online marketplace made
   20 vacation rentals in Santa Monica too popular that Defendants decided to act.
   21        30.    As a direct result of the online marketplace affording travelers with
   22 more lodging options at cost-efficient prices, hotels have experienced increased
   23 competition. Plaintiff is informed and believes and thereupon alleges that prior to
   24 the City’s enactment of the Ordinance, Santa Monica was one of the most popular
   25 cities on Airbnb’s website, representing the highest-searched city, the city with the
   26 most short-term listings, and the city with the second-highest revenue generated
   27 from short-term rental bookings in Los Angeles. Plaintiff is informed and believes
   28 and thereupon alleges that when Defendants enacted the Ordinance, there were at

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    1 least 1,700 Santa Monica listings on Airbnb’s website.
    2          31.   According to a report relied upon and/or cited by Defendants in
    3 enacting the Ordinance, 87% of the millions of dollars in revenue generated by
    4 Santa Monica short-term rentals on Airbnb’s website is derived from vacation
    5 rentals, the same lodging option offered by hotels. This report estimated that 81.5%
    6 of Airbnb’s bookings are shifted from away from hotels to Airbnb. And, of course,
    7 100% of the revenue generated by Santa Monica short-term rentals on HomeAway’s
    8 vacation-based websites are derived from vacation rentals.
    9          32.   Santa Monica faced the threat that these lost opportunities to generate
   10 hotel revenue would continue to increase as the popularity of the online marketplace
   11 continued to grow. According to Defendants, the number of travelers that chose to
   12 lodge at places other than a Santa Monica hotel increased every year for at least the
   13 three years prior to the City passing the Ordinance. By 2014, nearly one out of
   14 every three overnight visitors in Santa Monica did not lodge at a Santa Monica
   15 hotel.
   16          33.   As travelers increasingly steered away from pricey Santa Monica hotels
   17 in favor of more affordable short-term residential rentals, Santa Monica hotels began
   18 losing business from other would-be-occupants, negatively impacting revenue
   19 generated by the hotels. Plaintiff is informed and believes and thereupon alleges
   20 that in enacting the Ordinance, Defendants relied upon findings from a Boston
   21 University study1 showing that the growth of the online marketplace for residential
   22 short-term rentals has had a statistically significant negative impact on hotel
   23 revenue. Across the nation, the increase in competition city-localized hotels receive
   24 from the interstate marketplace for short-term rentals, the study concludes, has
   25
   26
        1
               Zervas, Georgios, “The Rise of the Sharing Economy: Estimating the Impact
   27 of Airbnb on the Hotel Industry.”
   28

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    1 impacted hotel revenue through decreased occupancy rates, hotel room prices,
    2 and/or Revenue Per Available Room (RevPAR) 2. The availability of short-term
    3 residential rentals as an inexpensive lodging alternative also impacts hotel “pricing
    4 power,” the ability of hotels to raise prices during peak times, such as when a
    5 festival, event, or large conference is in the area.
    6         34.   According to the study, the more popular the area, the more of a
    7 negative impact the online marketplace for short-term rentals has on the hotel
    8 industry. In cities with more than 1,000 available rooms on Airbnb’s website, as
    9 was the case with Santa Monica prior to the enactment of the Ordinance, hotel
   10 revenue is negatively impacted by 8.3%. A 10% increase in Airbnb supply results
   11 in a 0.35% negative impact on hotel room revenue. The negative impact on hotel
   12 room revenue is a reflection of travelers choosing short-term residential lodging
   13 over a hotel room.
   14         35.   The Boston University study relied upon by Defendants also concluded
   15 that the negative impact short-term residential rentals have on hotel revenue trickles
   16 down to municipalities who correspondingly receive a decrease in TOTs from hotel
   17 revenue. Pursuant to the City’s Municipal Code, Santa Monica receives fourteen
   18 percent (14%) TOT from hotel revenue and collects the TOTs on a monthly basis.
   19 S.M. Mun. Code § 6.68.020. Defendants rely heavily on the substantial revenues
   20 the City receives from the 14% TOTs it collects from the ultra-luxurious and pricey
   21 hotels in Santa Monica. In 2014, the City received $45.5 million in TOTs.
   22 ///
   23
   24
        2
            RevPAR, the standard performance metric in the hotel industry, measures the
   25 health of a single hotel, group of hotels, or a hotel market by incorporating revenue,
   26 occupancy percentage, and ADR. RevPAR is calculated by dividing total
        guestroom revenue by the total room count and the number of days in the period
   27 being measured.
   28

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    1        36.     In an effort to steer travelers back to more expensive Santa Monica
    2 hotels and to prevent interstate competition from negatively impacting hotel revenue
    3 and the revenue the City receives from TOTs, Defendants enacted an ordinance that
    4 prohibits residential vacation rentals in Santa Monica, effectively eliminates the
    5 online marketplace for residential vacation rentals in Santa Monica, and requires
    6 transient Santa Monica travelers to stay in Santa Monica-based hotels.
    7              Santa Monica’s “Short-Term Rental” Prohibition Ordinance
    8        37.     The United States Conference of Mayors found that regulations of
    9 short-term rentals that go too far can have detrimental effects to the travel and
   10 tourism industries as well as the national economy and local economies. This is
   11 exactly what Defendants have done.
   12        38.     On or about May 12, 2015, the City Council voted to pass the
   13 Ordinance strictly limiting the ability to engage in the interstate business of short-
   14 term rentals to Santa Monica-based businesses. The Ordinance went into effect on
   15 or about June 15, 2015.
   16        39.     Santa Monica’s “Short-Term Rental” prohibition is located in Section
   17 6.20.010 et seq. of the Santa Monica Municipal Code, which can be found at
   18 http://www.qcode.us/codes/santamonica. A copy of the Ordinance is also attached
   19 hereto as Exhibit 1.
   20        40.     Section 6.20.030 entitled “Prohibitions” provides as follows: “No
   21 person, including any hosting platform operator, shall undertake, maintain,
   22 authorize, aid, facilitate or advertise any home-sharing activity that does not comply
   23 with Section 6.20.020 of this Code or any vacation rental activity.” S.M. Mun.
   24 Code § 6.20.030. Thus, the Ordinance contains: (1) a complete ban on “vacation
   25 rentals;” (2) a partial ban on “home sharing;” and (3) a ban on advertising short-term
   26 rentals.
   27 ///
   28 ///

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    1        41.   Complete Ban on Vacation Rentals: By its express terms, the
    2 Ordinance prohibits all persons, except Santa Monica hotels, from engaging in
    3 “vacation rentals.” A “vacation rental” is defined as the rental of any residential
    4 unit to any person for his or her “exclusive transient use of thirty consecutive days
    5 or less.” S.M. Mun. Code § 6.20.010(c). The Ordinance exempts Santa Monica-
    6 based hotels from the complete ban on “vacation rentals.” Id. A Santa Monica
    7 property owner cannot even rent out his or her residential property while on
    8 vacation or a work trip as a means of earning some additional income while his or
    9 her privately-owned property sits vacant.       The Ordinance’s complete ban on
   10 vacation rentals prevents a Santa Monica property owner from engaging in such
   11 commerce.
   12        42.   Partial Ban on Home Sharing: While Santa Monica property owners
   13 who do not reside in their privately-owned Santa Monica properties are not
   14 permitted to engage in any short-term rentals of their properties, the Ordinance
   15 contains an exception that allows only Santa Monica residents who permanently
   16 reside in their properties to engage in short-term rentals in the form of “home
   17 sharing.” “Home sharing” is defined as the rental of any unit to any person for a
   18 period of 30 days or less during which the listing owner “lives on-site.” S.M. Mun.
   19 Code § 6.20.010(a). By permitting only owners who simultaneously reside in the
   20 unit to engage in short-term rentals, the Ordinance discriminates against Santa
   21 Monica property owners who do not reside in Santa Monica in favor of Santa
   22 Monica residents. For example, a New York resident who owns property in Santa
   23 Monica would never be permitted to utilize his property for short-term rentals
   24 because, as a New York resident, he would never qualify for the home sharing
   25 exception. Instead, to engage in home sharing, a person must be a Santa Monica
   26 resident.
   27 ///
   28 ///

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    1         43.   Prior to utilizing the home sharing exception, the listing owner must
    2 obtain and possess a City-issued business license, which is available only to
    3 residents of Santa Monica.         S.M. Mun. Code § 6.20.020(a)(2).          Under the
    4 Ordinance, a TOT of 14% of the total amount paid for the room rental is imposed in
    5 connection with any home sharing activity. S.M. Mun. Code § 6.20.020(a)(3).
    6         44.   Prohibition     Against    Advertising     Short-Term      Rentals:    The
    7 Ordinance not only prohibits engaging in transactions for short-term rentals, but also
    8 prohibits utilizing the Internet, the interstate marketplace for short-term rentals, or
    9 any other forum to list, facilitate, or advertise short-term rentals. By its express
   10 terms, the Ordinance prohibits listing owners from utilizing “any housing platform”
   11 to “aid, facilitate or advertise” any vacation rental or any other short-term rental that
   12 does not satisfy the home sharing exception. S.M. Mun. Code § 6.20.030. A
   13 “housing platform” is broadly defined as “[a] marketplace in whatever form or
   14 format which facilitates the home-sharing or vacation rental, through advertising,
   15 match-making or any other means, using any medium of facilitation, and from
   16 which the operator of the hosting platform derives revenues, including booking fees
   17 or advertising revenues, from providing or maintaining the marketplace.” S.M.
   18 Mun. Code § 6.20.010(b). This definition not only includes Airbnb, HomeAway,
   19 and other companies engaged in the interstate business of providing an online
   20 marketplace for short-term rentals and facilitating interstate transactions between
   21 owners and travelers, but also includes any other business engaged in connecting
   22 listing owners with travelers, such as a newspaper.
   23         45.   Due to the Ordinance’s prohibition on advertising and/or utilizing the
   24 online marketplace for short-term rentals, Santa Monica property owners, even those
   25 who do not reside in Santa Monica, cannot use the online marketplace to engage in
   26 interstate transactions with travelers from across the country and the world. The
   27 Ordinance purports to apply this ban even if the advertisement originates entirely
   28 outside of Santa Monica and is directed towards a locale outside of Santa Monica.

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    1 For example, under the Ordinance, a person located in New York cannot place an
    2 advertisement of a Santa Monica vacation rental on the Internet. Nor can a person
    3 located in New York advertise a Santa Monica vacation rental in a Florida
    4 newspaper in the hopes of attracting a person planning on vacationing in California.
    5        46.    The Ordinance also prohibits online marketplaces from accepting any
    6 listing or advertising of a vacation rental. S.M. Mun. Code § 6.20.030. Thus, under
    7 the Ordinance, HomeAway, an out-of-state business whose online marketplace is
    8 limited to vacation rentals, is prohibited from conducting any business in Santa
    9 Monica. In addition to completely eliminating the presence of HomeAway’s online
   10 marketplace for short-term rentals in Santa Monica, the Ordinance also has a drastic
   11 effect on Airbnb’s online marketplace.       Defendants, in enacting the Ordinance,
   12 estimated that the complete ban on vacation rentals would slash Santa Monica
   13 Airbnb listings from 1,700 listings to 300 listings. Plaintiff is informed and believes
   14 and thereupon alleges that due to the passing of the Ordinance, Airbnb and
   15 HomeAway will not permit persons to list vacation rentals of a Santa Monica
   16 property on their websites.
   17        47.    The only type of short-term rental advertising permitted by the
   18 Ordinance is for authorized home sharing, the requirements for which a non-Santa
   19 Monica resident can never satisfy.       In the event that a Santa Monica resident
   20 advertises his or her property for home sharing in the newspaper, the newspaper
   21 advertising the short-term rental would be required to collect TOTs and remit them
   22 to the City on behalf of its advertiser. Indeed, section 6.20.050 entitled “Hosting
   23 Platform Responsibilities” requires “housing platforms” to “be responsible for
   24 collecting all applicable TOTs and remitting the same to the City.” S.M. Mun. Code
   25 § 6.20.050.
   26        48.    Violations: Violations of the Ordinance are subject to criminal fines of
   27 up to $500, administrative penalties, and/or imprisonment for six months. S.M.
   28 Mun. Code § 6.20.100. Since passing the Ordinance, Defendants have dedicated

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    1 substantial money and effort to its enforcement. Plaintiff is informed and believes
    2 and thereupon alleges that Defendants have budgeted $410,000 to employ three (3)
    3 persons to ensure enforcement of the Ordinance during the first year of enactment.
    4 Upon enacting the Ordinance, Defendants estimated that they would collect fines
    5 totaling approximately $85,000 in just the first year of enforcement.
    6          The Ordinance Was Enacted to Promote Local Economic Interests
    7          49.      The Ordinance has the effect of increasing the revenues the City
    8 receives from TOTs. Defendants were not shy in acknowledging that the purpose of
    9 passing the Ordinance was to promote local economic interests.                Plaintiff is
   10 informed and believes and thereupon alleges that in enacting the Ordinance,
   11 Defendants cited the increased revenue from TOTs as a benefit.
   12          50.      Even the stated purposes of the Ordinance are local economic
   13 protectionist purposes. The preamble states that the Ordinance, as a whole, serves
   14 two purposes: “preserving [Santa Monica’s] housing stock and preserving the
   15 quality and character of its existing single and multi-family residential
   16 neighborhoods.”         According to Defendants, preserving housing stock and the
   17 “character and charm” of local residential neighborhoods is necessary to allow
   18 “Santa Monica’s prosperity” “to continue to flourish.” The preamble provides in
   19 relevant part as follows:
   20                   Santa Monica’s primary housing goals include preserving its
                        housing stock and preserving the quality and character of its
   21                   existing single and multi-family residential neighborhoods.
                        Santa Monica’s prosperity has always been fueled by the area’s
   22                   many attractive features including its cohesive and active
                        residential neighborhoods and the diverse population which
   23                   resides therein. In order to continue to flourish, the City must
                        preserve its available housing stock and the character and
   24                   charm which result, in part, from cultural, ethnic, and economic
                        diversity of its resident population…. The City must also
   25                   preserve its unique sense of community which derives, in large
                        part, from residents’ active participation in civic affairs,
   26                   including local government, cultural events, and educational
                        endeavors.
   27
        (Ex. 1 at 1.)
   28

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    1        51.   Defendants expressly found the complete ban on vacation rentals was
    2 necessary to prevent foreign travelers from accessing residential neighborhoods.
    3 Such unabashed discrimination against foreigners and travelers, according to
    4 Defendants, would “sometimes” help “preserve the quality and character of [Santa
    5 Monica’s] residential neighborhoods.”          Specifically, the preamble states that
    6 vacation rentals “are detrimental to the community’s welfare…because occupants of
    7 such vacation rentals, when not hosted, do not have any connections to the Santa
    8 Monica community and to the residential neighborhoods in which they are visiting.”
    9 The “presence of such visitors within the City’s residential neighborhoods can
   10 sometimes disrupt the quietude and residential character of the neighborhoods and
   11 adversely impact the community.” (Ex. 1 at 2.)
   12        52.   Defendants justified the home sharing exception by citing two reasons.
   13 First, Defendants found that allowing Santa Monica residents to engage in home
   14 sharing was acceptable because “resident hosts are present to introduce their guests
   15 to the City’s neighborhoods.”      Second, Defendants found that “home-sharing
   16 activities are relatively very small in number, when compared to the number of
   17 persons utilizing vacation rentals.” (Ex. 1 at 2.) In other words, what separates
   18 vacation rentals (which inherently provide competition for Santa Monica hotels)
   19 from home sharing activities (which do not provide competition for Santa Monica
   20 hotels), according to Defendants, are the following: (1) vacation rentals introduce
   21 foreign strangers into residential neighborhoods which “sometimes” could be
   22 potentially “detrimental” to the local community; and (2) the popularity of vacation
   23 rentals negatively impacts TOT revenue.
   24
   25                          PLAINTIFF’S EXPERIENCES
   26        53.   Plaintiff Arlene Rosenblatt has owned residential property in Santa
   27 Monica for approximately 20 years. Her property, located less than three blocks
   28 from the beach in Santa Monica, has been in her family for approximately 55 years.

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    1 The property consists of three units. Located on the front of the property is a two-
    2 bedroom, two-bathroom house, in which Plaintiff Rosenblatt and her husband reside
    3 and have resided for the past 20 years. The back of the property consists of two
    4 apartments—a one-bedroom apartment and a studio apartment. Both apartments are
    5 and have been occupied by rent-controlled tenants on month-to-month leases.
    6        54.    Starting approximately two years prior to the City’s enactment of the
    7 Ordinance, Plaintiff Rosenblatt saw an opportunity to utilize the online marketplace
    8 for short-term rentals as a means of generating some needed additional income from
    9 her house. When she and her husband traveled on vacation, Plaintiff Rosenblatt
   10 would list her entire and otherwise vacant two-bedroom house for rent on Airbnb’s
   11 website.     The house started being listed for $99 per night.      As she continued
   12 receiving stellar reviews and her house became more desirable as a lodging option
   13 for Santa Monica tourists and travelers, Plaintiff Rosenblatt gradually increased the
   14 nightly rate to $350 for the two-bedroom house. Thus, instead of booking two Santa
   15 Monica hotel rooms at an ADR of $335 each ($670 total), a family of four could
   16 rent Plaintiff Rosenblatt’s house for $350 total, or $175 per bedroom. This visiting
   17 family of four would also receive a living room, a dining room, a kitchen, and a
   18 washer/dryer, and still be less than three blocks from the beach, all while saving
   19 nearly $1,500 over the course of the average 4.5 night stay for a visitor in Santa
   20 Monica.
   21        55.    Since Defendants passed the Ordinance, Plaintiff Rosenblatt has not
   22 been able to list for rent or rent out her house as a vacation rental or any other type
   23 of short-term rental. Plaintiff Rosenblatt has not been able to generate the income
   24 she once was able to generate from her privately-owned house while she and her
   25 husband were on vacation.        When Defendants passed the Ordinance, Plaintiff
   26 Rosenblatt was forced to stop listing for rent and/or renting out her house as a
   27 vacation rental while she and her husband traveled or at any other time. Plaintiff
   28 Rosenblatt could no longer utilize the online marketplace for short-term rentals,

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    1 Airbnb’s website, or any other “hosting platform” to generate the income that she
    2 was once able to inherently generate from her vacant house while she was on
    3 vacation or otherwise out of town.
    4
    5               CLASS ACTION DEFINITION AND ALLEGATIONS
    6        56.    Plaintiff brings this action pursuant to Rule 23(a), (b)(1), (b)(2), and
    7 (b)(3) of the Federal Rules of Civil Procedure on behalf of herself, and as a class
    8 action on behalf of the following class (“the Class”):
    9               All owners of residential property in the City of Santa
   10               Monica.
   11        57.    Numerosity—Fed. R. Civ. P. 23(a)(1). Although Plaintiff does not
   12 know the exact number of members in the Class, Plaintiff is informed and believes
   13 and on that basis alleges that due to the number of residential properties in Santa
   14 Monica and the number of units that have been listed for short-term rentals in Santa
   15 Monica, the members of the Class are sufficiently numerous in number, likely in the
   16 tens of thousands, that joinder of all class members is impracticable.
   17        58.    Existence of common questions of fact and/or law—Fed. R. Civ. P.
   18 23(a)(2). Numerous questions of law and fact are common to the Class including,
   19 without limitation, the following:
   20               a.    Whether the Ordinance is unconstitutional;
   21               b.    Whether the Ordinance violates the Dormant Commerce Clause
   22 of the United States Constitution;
   23               c.    Whether the Ordinance facially discriminates against non-
   24 residents of Santa Monica in favor of residents of Santa Monica;
   25               d.    Whether the Ordinance has the effect of discriminating against
   26 non-residents of Santa Monica in favor of residents of Santa Monica;
   27               e.    Whether the Ordinance facially burdens interstate commerce;
   28               f.    Whether the Ordinance has the effect of burdening interstate

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    1 commerce;
    2               g.    Whether the Ordinance was enacted for local economic
    3 protectionist purposes;
    4               h.    Whether the Ordinance is necessary to achieve an important
    5 local purpose;
    6               i.    Whether increasing TOTs and the City’s revenues is an
    7 important local purpose;
    8               j.    Whether “preserving housing stock” to allow “Santa Monica’s
    9 prosperity….to continue to flourish” is an important local purpose;
   10               k.    Whether “preserving the character and charm” of local
   11 residential neighborhoods to allow “Santa Monica’s prosperity….to continue to
   12 flourish” is an important local purpose;
   13               l.    Whether the Ordinance’s prohibition on short-term rentals
   14 constitutes a taking under the Fifth Amendment of the United States Constitution;
   15               m.    Whether the Ordinance’s prohibition on short-term rentals
   16 amounts to a limitation on the use of privately-owned property;
   17               n.    Whether the Ordinance’s limitations on the use of privately-
   18 owned property affect residential property market value;
   19               o.    Whether Defendants substantially caused the enactment of the
   20 Ordinance; and
   21               p.    Whether Defendants were acting under the color of any state or
   22 local law in enacting the Ordinance.
   23        59.    Typicality—Fed R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of
   24 the claims of the Class in that all members of the Class have identical claims
   25 challenging the constitutionality of the Ordinance.
   26        60.    Adequacy—Fed. R. Civ. P. 23(a)(4).           Plaintiff will fairly and
   27 adequately represent the interests of the Class in that Plaintiff is typical of absent
   28 class members and seeks to vigorously litigate the claims of the Class. Furthermore,

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    1 Plaintiff has retained competent counsel experienced in class action litigation.
    2 Plaintiff’s counsel will fairly and adequately protect the interests of the Class.
    3        61.    Inconsistent and/or incompatible adjudications—Fed. R. Civ. P.
    4 23(b)(1). Prosecution of separate actions by individual class members would create
    5 the risk of inconsistent or varying adjudications concerning the validity and/or
    6 constitutionality of the Ordinance, establishing incompatible standards of conduct
    7 for Defendants, absent class members, residents of the City of Santa Monica,
    8 housing platforms, and any other persons subjected to the Ordinance.
    9        62.    Injunctive relief—Fed. R. Civ. P. 23(b)(2).           Injunctive relief is
   10 appropriate as to the Class as a whole because Defendants have acted or refused to
   11 act on grounds generally applicable to the Class.
   12        63.    Predominance of common questions of fact and law and
   13 superiority of class action litigation—Fed. R. Civ. P. 23(b)(3).               Common
   14 questions, including, but not limited to, those listed above in Paragraph 58, will
   15 predominate this litigation. This class action is superior to the alternatives, if any,
   16 for the fair and efficient adjudication of this controversy. The relief sought per
   17 individual class member is small given the burden and expense of individual
   18 prosecution of the potentially extensive litigation necessitated to challenge the
   19 constitutionality of the Ordinance. Furthermore, it would be virtually impossible for
   20 the class members to seek redress on an individual basis. Even if the class members
   21 themselves could afford such individual litigation, the court system could not.
   22        64.    Individual litigation of the legal and factual issues raised by the conduct
   23 of Defendants and the passing of the Ordinance would increase delay and expense to
   24 all parties and to the court system. The class action device presents far fewer
   25 management difficulties and provides the benefits of a single, uniform adjudication,
   26 economies of scale and comprehensive supervision by a single court. Given the
   27 similar nature of the class members’ claims and the law applicable thereto, the Court
   28 and the parties will easily be able to manage a class action.

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    1                            FIRST CLAIM FOR RELIEF
    2                         DORMANT COMMERCE CLAUSE
    3                     (Discrimination Against Interstate Commerce)
    4                               (Against All Defendants)
    5        65.    Plaintiff incorporates by reference all the above allegations as if fully
    6 set forth herein.
    7        66.    Santa Monica’s Ordinance discriminates against interstate commerce in
    8 violation of the Commerce Clause, Art. I, § 8, cl. 3 of the Constitution of the United
    9 States, for the following non-exclusive reasons:
   10               a.     The Ordinance prohibits all interstate and intrastate competition
   11 for vacation rentals. The Ordinance’s complete ban on vacation rentals limits the
   12 right to engage in the business of vacation rentals in the City and to advertise
   13 vacation rentals on the Internet strictly to Santa Monica hotels. The Ordinance
   14 ensures that Santa Monica hotels will receive 100% of all vacation rental lodging
   15 from out-of-state residents, effectively prohibiting all existing and future interstate
   16 and intrastate competition for transient lodging.
   17               b.     The Ordinance prohibits all interstate and intrastate competition
   18 for home sharing and limits the right to engage in the business of home sharing in
   19 the City and to advertise home sharing on the Internet strictly to Santa Monica
   20 hotels and residents. Non-Santa Monica residents, including out-of-state businesses,
   21 are prohibited from engaging in the business of short-term rentals even though a
   22 means for non-Santa Monica residents to engage in such interstate commerce and
   23 business exists.
   24               c.     Out-of-state residents and businesses cannot obtain a business
   25 license to engage in short-term rentals. The Ordinance limits the right to obtain a
   26 business license to engage in and advertise vacation rentals strictly to Santa Monica-
   27 based hotels and limits the right to receive a business license for home sharing
   28 strictly to Santa Monica hotels and residents.

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    1               d.     The Ordinance prohibits companies engaged in interstate
    2 commerce, such as Airbnb, HomeAway, and Santa Monica property owners
    3 residing out-of-state, from conducting business in the City.
    4               e.     The Ordinance prohibits use of an otherwise available interstate
    5 online marketplace for short-term rentals.
    6               f.     The Ordinance treats interstate travelers as unfriendly aliens and
    7 prevents them from being able to associate with and assimilate into local
    8 communities.
    9               g.     The Ordinance was enacted for the stated purpose of ensuring
   10 local residents benefit from the preservation of local neighborhoods.
   11         67.   The Ordinance’s discriminatory provisions are not necessary to achieve
   12 an important local purpose. Any reason(s) for including the discrimination in the
   13 Ordinance pale in comparison to the discriminatory and burdensome affect that they
   14 place on interstate commerce.
   15         68.   Plaintiff and the Class are therefore entitled to declaratory judgment
   16 that the Ordinance’s discriminatory provisions are unconstitutional under the
   17 Commerce Clause.
   18         69.   Plaintiff and the Class have suffered, and will continue to suffer,
   19 irreparable injury if Defendants are permitted to continue enforcing the Ordinance.
   20 Plaintiff and members of the Class are thus entitled to a preliminary and permanent
   21 injunction prohibiting Defendants from enforcing the Ordinance.
   22         70.   Pursuant to 42 U.S.C. § 1988, Plaintiff and the Class are entitled to
   23 costs and attorneys’ fees, as well as interest.
   24 ///
   25 ///
   26 ///
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                                             COMPLAINT
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    1                           SECOND CLAIM FOR RELIEF
    2                        DORMANT COMMERCE CLAUSE
    3                     (Excessive Burden on Interstate Commerce)
    4                               (Against All Defendants)
    5        71.    Plaintiff incorporates by reference all the above allegations as if fully
    6 set forth herein.
    7        72.    Santa Monica’s Ordinance unduly, substantially, and excessively
    8 burdens interstate commerce in violation of the Commerce Clause, Art. I, § 8, cl. 3
    9 of the Constitution of the United States, for the following non-exclusive reasons:
   10               a.    The Ordinance prohibits use of an otherwise available interstate
   11 online marketplace for short-term rentals and prohibits all persons subject to the
   12 Ordinance from advertising vacation rentals on the online marketplace.
   13               b.    The Ordinance restricts the ability of companies that promote,
   14 further, and facilitate interstate commerce, such as Airbnb and HomeAway, from
   15 engaging in business in the City.
   16               c.    The Ordinance prohibits, limits, restricts, impedes, and/or
   17 diminishes free trade and interstate competition for lodging in the City.
   18               d.    The Ordinance limits the right to engage in the business of
   19 vacation rentals strictly to Santa Monica hotels.      This ensures that local Santa
   20 Monica hotels will receive 100% of all short-term lodging from out-of-state
   21 residents, effectively prohibiting all existing and future interstate and intrastate
   22 competition for transient lodging.
   23               e.    The Ordinance limits the right to receive a business license for
   24 short-term rentals strictly to Santa Monica hotels and residents.
   25               f.    The Ordinance increases the costs of short-term lodging in Santa
   26 Monica by limiting and/or restricting supply to Santa Monica hotels and prohibiting,
   27 limiting, and/or restricting cheaper and relatively inexpensive alternatives for short-
   28 term lodging. By denying affordable means of transient lodging in the City and

                                                 26
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    1 limiting the availability of Santa Monica short-term lodging opportunities for
    2 travelers and other out-of-staters, the Ordinance restricts, limits, and/or impedes
    3 interstate travel.
    4               g.     By making travel lodging in Santa Monica less affordable, the
    5 Ordinance reduces tourism and other interstate activities within the City.
    6               h.     The Ordinance treats interstate travelers as unfriendly aliens and
    7 prevents them from being able to associate with and assimilate into local
    8 communities.
    9               i.     The Ordinance was enacted for the stated purpose of ensuring
   10 local residents benefit from preservation of local neighborhoods.
   11         73.   The Ordinance’s burdens on interstate commerce are not necessary to
   12 achieve an important local purpose.         Any reason(s) for including the burdens
   13 presented by the Ordinance pale in comparison to the burdensome effect that they
   14 place on interstate commerce.
   15         74.   Plaintiff and the Class are therefore entitled to declaratory judgment
   16 that the Ordinance’s burdensome provisions are unconstitutional under the
   17 Commerce Clause.
   18         75.   Plaintiff and the Class have suffered, and will continue to suffer,
   19 irreparable injury if Defendants are permitted to continue enforcing the Ordinance.
   20 Plaintiff and members of the Class are thus entitled to a preliminary and permanent
   21 injunction prohibiting Defendants from enforcing the Ordinance.
   22         76.   Pursuant to 42 U.S.C. § 1988, Plaintiff and the Class are entitled to
   23 costs and attorneys’ fees, as well as interest.
   24 ///
   25 ///
   26 ///
   27 ///
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                                             COMPLAINT
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    1                             THIRD CLAIM FOR RELIEF
    2                             INVERSE CONDEMNATION
    3                                 (Against All Defendants)
    4         77.    Plaintiff incorporates by reference all the above allegations as if fully
    5 set forth herein.
    6         78.    Plaintiff and all class members own and have an interest in their
    7 privately-owned properties located in the City. Plaintiff and all class members have
    8 an interest in real property that has been reduced by the City’s enactment of the
    9 Ordinance.
   10         79.    Defendants substantially participated in approving, implementing,
   11 drafting, passing, enacting, and/or enforcing the Ordinance.
   12         80.    Vacation rentals are a very popular and lucrative portion of the online
   13 rental marketplace. Vacation rentals are especially popular in the tourist-driven City
   14 of Santa Monica. Vacation rentals in Santa Monica have been common throughout
   15 the City’s history. Santa Monica residential property is one of the most expensive in
   16 the country, due in large part to its attractiveness to potential renters and tourists.
   17         81.    The Ordinance prohibits Plaintiff and class members from entering into
   18 a very popular and lucrative portion of the rental marketplace, vacation rentals. The
   19 Ordinance constitutes a prohibition, limitation, and/or restriction on the use of the
   20 properties owned by Plaintiff and class members.
   21         82.    By eliminating a very popular, valuable, and lucrative economic use of
   22 private properties in the City, the City’s enactment of the Ordinance has directly,
   23 substantially, and proximately caused all residential properties in the City to
   24 necessarily suffer a reduction or depreciation in market value.
   25         83.    Plaintiff and the Class are entitled to damages in the amount of the
   26 reduction of the property value as a result of the City’s enactment of the Ordinance.
   27         84.    Pursuant to California Code of Civil Procedure section 1036, Plaintiff
   28 and the Class are entitled to costs and attorneys’ fees, as well as interest.

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                                              COMPLAINT
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    1                            FOURTH CLAIM FOR RELIEF
    2               THE TAKINGS CLAUSE OF THE FIFTH AMENDMENT
    3                                 (Against All Defendants)
    4         85.    Plaintiff incorporates by reference all the above allegations as if fully
    5 set forth herein.
    6         86.    Plaintiff and all class members own and have an interest in their
    7 privately-owned properties located in the City. Plaintiff and all class members have
    8 an interest in real property that has been reduced by the City’s enactment of the
    9 Ordinance.
   10         87.    Defendants substantially participated in approving, implementing,
   11 drafting, passing, enacting, and/or enforcing the Ordinance.
   12         88.    Vacation rentals are a very popular and lucrative portion of the online
   13 rental marketplace. Vacation rentals are especially popular in the tourist-driven City
   14 of Santa Monica. Vacation rentals in Santa Monica have been common throughout
   15 the City’s history. Santa Monica residential property is one of the most expensive in
   16 the country, due in large part, to its attractiveness to potential renters and tourists.
   17         89.    The Ordinance prohibits Plaintiff and class members from entering into
   18 a very popular and lucrative portion of the rental marketplace, vacation rentals. The
   19 Ordinance constitutes a prohibition, limitation, and/or restriction on the use of the
   20 properties owned by Plaintiff and class members.
   21         90.    By eliminating a very popular, valuable, and lucrative economic use of
   22 private properties in the City, the City’s enactment of the Ordinance has directly,
   23 substantially, and proximately caused all residential properties in the City to
   24 necessarily suffer a reduction or depreciation in market value.
   25         91.    Plaintiff and the Class are entitled to declaratory judgment that the
   26 Ordinance constitutes an unconstitutional taking under the Fifth Amendment of the
   27 Constitution of the United States.
   28 ///

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    1        92.    Plaintiff and the Class have suffered, and will continue to suffer,
    2 irreparable injury if the Ordinance remains in effect and Defendants are permitted to
    3 continue enforcing the Ordinance. Plaintiff and class members are thus entitled to a
    4 preliminary and permanent injunction prohibiting Defendants from enforcing the
    5 Ordinance.
    6        93.    Pursuant to 42 U.S.C. § 1988, Plaintiff and the Class are entitled to
    7 costs and attorneys’ fees, as well as interest.
    8
    9                             FIFTH CLAIM FOR RELIEF
   10                              DECLARATORY RELIEF
   11                                (28 U.S.C. § 2201, et seq.)
   12                                (Against All Defendants)
   13        94.    Plaintiff incorporates by reference all the above allegations as if fully
   14 set forth herein.
   15        95.    An actual controversy has arisen and now exists between Plaintiff and
   16 the members of the Class, on the one hand, and Defendants, on the other hand,
   17 concerning the constitutionality and validity of the Ordinance. Plaintiff and the
   18 Class contend that the Ordnance is unconstitutional and invalid, while Defendants
   19 contend that the Ordinance is constitutional and valid.
   20        96.    A judicial declaration is necessary and appropriate at this time, under
   21 the circumstances presented, so that Plaintiff, the members of the Class, and
   22 Defendants may ascertain their respective rights and duties with respect to the
   23 Ordinance.
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                                             COMPLAINT
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    1                             SIXTH CLAIM FOR RELIEF
    2                 DEPRIVATION OF CONSTITUTIONAL RIGHTS
    3                                    (42 U.S.C. § 1983)
    4                                (Against All Defendants)
    5         97.   Plaintiff incorporates by reference all the above allegations as if fully
    6 set forth herein.
    7         98.   Defendants, in enacting and enforcing the Ordinance, were acting under
    8 the color of state law.
    9         99.   The enactment of the Ordinance violates the rights of Plaintiff and the
   10 Class guaranteed by the Constitution of the United States, including the Commerce
   11 Clause and the Fifth Amendment.
   12         100. Plaintiff and the Class are entitled to declaratory judgment that the
   13 Ordinance constitutes an unconstitutional taking under the Fifth Amendment of the
   14 Constitution of the United States.
   15         101. Plaintiff and the Class have suffered, and will continue to suffer,
   16 irreparable injury if the Ordinance remains in effect and Defendants are permitted to
   17 continue enforcing the Ordinance. Plaintiff and class members are thus entitled to a
   18 preliminary and permanent injunction prohibiting Defendants from enforcing the
   19 Ordinance.
   20         102. As a direct and proximate cause of Defendants’ enactment of the
   21 Ordinance and deprivation of the constitutional rights of Plaintiff and the Class,
   22 Plaintiff and the Class have been damaged and suffered monetary damages in an
   23 amount to be established at trial. Plaintiff and the Class are therefore entitled to all
   24 applicable damages, including all general, special, compensatory, consequential, and
   25 punitive damages.
   26         103. Pursuant to 42 U.S.C. § 1988, Plaintiff and the Class are entitled to
   27 costs and attorneys’ fees, as well as interest.
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                                             COMPLAINT
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    1                                PRAYER FOR RELIEF
    2         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
    3         1.    For an order certifying the Class;
    4         2.    For an order appointing Esensten Law as Class Counsel and Plaintiff as
    5 Class Representative;
    6         3.    On an expedited basis, pursuant to Federal Rules of Civil Procedure
    7 Rule 57, for an order declaring that the Ordinance is unconstitutional, void, and
    8 invalid and enjoining Defendants from enforcing the Ordinance and its
    9 unconstitutional provisions;
   10         4.    For declaratory relief and an order declaring that the Ordinance,
   11 including its short-term rental prohibition, is unconstitutional, void, and invalid;
   12         5.    For a temporary restraining order, a preliminary injunction, and/or a
   13 permanent injunction enjoining Defendants from enforcing the Ordinance and its
   14 unconstitutional provisions;
   15         6.    For an award of general damages according to proof;
   16         7.    For an award of special damages according to proof;
   17         8.    For an award of punitive damages according to proof
   18         9.    For an order awarding Plaintiff and the Class pre- and post-judgment
   19 interest;
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                                             COMPLAINT
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    1        10.   For an order awarding Plaintiff and the Class their costs and expenses,
    2 including reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988, California Code
    3 of Civil Procedure section 1036, and any other applicable laws; and
    4        11.   For all general, special, and equitable relief to which the Plaintiff and
    5 the Class are entitled by law.
    6
    7 DATED: June 21, 2016                ESENSTEN LAW
    8
    9
                                          By:          /s/ Jordan S. Esensten
   10                                                JORDAN S. ESENSTEN
                                          Attorneys for Plaintiff Arlene Rosenblatt, on
   11                                     behalf of herself and all others similarly
                                          situated
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                                           COMPLAINT
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    1                           DEMAND FOR JURY TRIAL
    2
    3       Plaintiff hereby demands a trial by jury.
    4
    5 DATED: June 21, 2016                ESENSTEN LAW
    6
    7                                     By:          /s/ Jordan S. Esensten
                                                     JORDAN S. ESENSTEN
    8                                     Attorneys for Plaintiff Arlene Rosenblatt, on
                                          behalf of herself and all others similarly
    9                                     situated
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